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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

IN RE ELETROBRAS SECURITIES 15 Civ. 5754 (JGK)
LITIGATION,
ORDER

 

KATHERINE POLK FAILLA, District Judge:

As stated at the hearing held before Judge Koeltl on July
17, 2018, the Court grants the lead plaintiffs’ unopposed motion
for preliminary approval of the settlement. At that hearing,
the Court found that the proposed settlement is fair,
reasonable, and adequate on a preliminary basis. The Court
requested changes to be made in the papers, which the parties
made and submitted to the Court on July 19, 2018. With those
changes, the parties should send the appropriate notice to the

class and publish the summary notice.

KATHERINE POLK FAILLA
United States District Judge
Part I

 

Dated: New York, New York
August 17, 2018

 

 
